        Case 2:24-cv-02991-MSN-atc                     Document 37             Filed 03/04/25           Page 1 of 1           PageID
                                                               164
                                                          AFFIDAVIT OF SERVICE

 Case:        Court:                                                     County:                                Job:
 2:24-cv-     UNITED STATES DISTRICT COURT FOR THE WESTERN               SHELBY, TN                             12618230
 02991        DISTRICT OF TENNESSEE
 Plaintiff / Petitioner:                                                 Defendant / Respondent:
 ARTIS WHITEHEAD                                                         CITY OF MEMPHIS, JAMES HOWELL, TERRY LYONS, ROBERT
                                                                         RAGLAND, JOSEPH PEARLMAN, VIVIAN MURRAY, THOMAS WARRICK,
                                                                         TIMOTHY GREEN, EDWARD BASS, ROBERT HULL, JR., JAMES
                                                                         BOLDEN, and UNKNOWN EMPLOYEES OF THE CITY OF MEMPHIS,
 Received by:                                                            For:
 Legal Process of Tennessee                                              LOEVY +LOEVY
 To be served upon:
 TIMMOTHY GREEN

I, James Grady, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the boundaries
of the state where service was effected, I was authorized by law to make service of the documents and informed said person of the contents
herein

Recipient Name / Address:             Timmothy Green, HOME: 4425 HUGHES MEADOW DRIVE, MEMPHIS, TN 38125-3151
Manner of Service:                    Personal/Individual, Feb 25, 2025, 7:05 pm CST
Documents:                            Issued Summons (Received Jan 30, 2025 at 11:51am CST), Complaint (Received Jan 30, 2025 at 11:51am
                                      CST)
GPS Coordinates and Timestamp:        35.0272977, -89.8029599: 1740531908772

Additional Comments:
1) Unsuccessful Attempt: Feb 3, 2025, 11:20 am CST at HOME: 4425 HUGHES MEADOW DRIVE, MEMPHIS, TN 38125-3151
No answer at door, 2 vehicles parked in driveway (uploaded pics), outside porch light is on, no sounds coming from inside, left my contact
information on a post-it note.

2) Unsuccessful Attempt: Feb 3, 2025, 1:33 pm CST at HOME: 3620 VENABLE ROAD, MEMPHIS, TN 38118-1635
I spoke to a Hispanic male appx 65 years of age, Bald and spoke little English. This resident did state no one known by the defendant's name
and does not reside here.

3) Unsuccessful Attempt: Feb 25, 2025, 2:44 pm CST at HOME: 4425 HUGHES MEADOW DRIVE, MEMPHIS, TN 38125-3151
No answer ar front and rear door. I knocked pretty hard, black police cruiser parked in driveway, and a Chevrolet suv, Dodge Ram pickup
parked on street parking in front of house and a silver 4 door older model vehicle. I've been and still am waiting as I was in street parking,
now I am in the driveway parked next to police cruiser.

4) Unsuccessful Attempt: Feb 25, 2025, 3:33 pm CST at Police Dept: 3840 Ridgeway Road Autumn Ridge, Memphis, TN 38115
I tried this police dept before I go to 125 N Main 737-8301 Precinct, defendant does not work out of here per front desk officer.

5) Successful Attempt: Feb 25, 2025, 7:05 pm CST at HOME: 4425 HUGHES MEADOW DRIVE, MEMPHIS, TN 38125-3151 received by Timmothy
Green. Age: 55-60; Ethnicity: African American; Gender: Male; Weight: 215; Height: 5'11"; Hair: Black;
Timmothy Green answered the door and verbally identified himself and stated he knew what the papers were about when I pointed out the
plaintiff.Timmothy Green accepted legal documents. Timmothy Green shows spelling with two "M"s




                                             03/04/2025
James Grady                                  Date

Legal Process of Tennessee
304 TIMMONS STREET
NASHVILLE, TN 37211
888-737-8301
